Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.120 Page 1 of 57




 1
                                    INDEX TO EXHIBITS

 2

 3
     Exhibit A: Sanctions Issued on May 3, 2022

 4 Exhibit B:     Additional Sanction Imposed on June 14, 2022
 5
     Exhibit C:   SUU Policy 5.27
 6

 7 Exhibit D:     SUU Policy 5.60

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                        COMPLAINT
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.121 Page 2 of 57




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13
                                    EXHIBIT A
14

15                        Sanctions Issued on May 3, 2022
16

17

18

19

20

21

22

23

24

25

26

27

28


                                    COMPLAINT
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.122 Page 3 of 57




May 3, 2022


Jake Johnson
johnsonj@suu.edu

Jake:

On Friday, April 29, 2022, I received the findings of an SUU internal review and hearing process
under SUU Policy 5.60 (informed by related definitions found in SUU Policy 5.27), effective
date August 7, 2020 (copy enclosed; the Policy was later updated in 2021). The Hearing Officer,
Steve Gordon, found that Professor Richard Bugg violated SUU’s Policy 5.60, based on a
preponderance of the evidence, in that he had engaged in harassment and discrimination on the
basis of gender identity against a student. Mr. Gordon’s Written Determination is enclosed with
this letter, and this letter serves as part of that Written Determination as to the sanctions and
remedies.

My role is as the Responsible University Administrator per page 28 of the Policy. Based on the
facts and findings in that report, I decided on the disciplinary sanctions for the Respondent,
Richard Bugg. In deciding the sanction(s), I have taken into consideration the factors listed
within the Policy (See Page 29). I also have consulted with the designee within the Provost’s
Office, Bill Heyborne, Associate Provost. The goal of these sanctions is to end the prohibited
conduct and prevent further violation of the Policy.

I am implementing the following sanctions:

   1. Professor Richard Bugg submit to education about current views and opinions of English
      language and grammar experts and resources that using Gender-Neutral pronouns when
      referring to an individual is now considered grammatically correct.
   2. This action and decision stand as a written warning regarding the use of preferred
      pronouns. If Professor Bugg continues to refuse to make a good faith effort to use
      preferred pronouns it will be considered an additional violation of policy 5.60 and 5.27
      and may result in further sanctions up to and including termination.

   3. If Professor Bugg refuses to make a good faith effort to use pronouns requested by SUU
      students, and as a result, students refuse to register for sections of classes he teaches,
      SUU will open additional sections of those classes and Professor Bugg’s pay will be
      reduced to offset the amounts SUU must pay for the additional sections.

The following considerations were primary in my decision on these sanctions. The severity,
persistence, and the pervasiveness of the misconduct. The impact of the misconduct on the
complainant. The impact of the misconduct on the University community. The maintenance of a
safe, nondiscriminatory, and respectful working and learning environment. I also note that if


                                                                                                 23
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.123 Page 4 of 57




Professor Bugg has concerns about the reasonableness of a future request by a student as related
to use of preferred names or pronouns, he should direct those questions to me.

I also considered remedies for the Complainants in this case. It is my understanding that changes
to coursework and other requests have already been considered and adjustments made through
the Title IX Office and within the department. For that reason, no additional remedies are
included in my decision.

Appeal bases, reasons, and timelines are set out beginning on page 31 of the Policy. The appeal
officer in this case is SUU Provost Jon Anderson or his designee. Any party wanting to appeal
must submit their intent to appeal within 10 calendar days after receipt of this letter and the
enclosed Written Determination by the Hearing Officer to the Title IX Coordinator at
title9@suu.edu.

Sincerely,


Kevin Price
Assistant Vice President, Human Resources
as Responsible University Administrator under SUU Policy 5.60




                                                                                               24
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.124 Page 5 of 57




 1

 2

 3

 4

 5

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 7

 8

 9

10

11

12

13
                                    EXHIBIT B
14

15                  Additional Sanction Imposed on June 14, 2022
16

17

18

19

20

21

22

23

24

25

26

27

28


                                    COMPLAINT
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.125 Page 6 of 57




                                             351 W University Blvd.
                                             Cedar City, UT, 84720
                                             (435) 586-7700
                                             www.suu.edu




June 14, 2022

Dear                and Richard Bugg,

I am writing in response to two appeals I received relating to case No. 20210032. My
preparation for this response included a review of the original complaint, the investigation, the
written determination and various appendices and other policies and documents included in the
case file.

Currently the sanctions imposed on Richard Bugg regarding the incidents included in the case
file are as follows:

1. Professor Richard Bugg submit to education about current views and opinions of English
language and grammar experts and resources that using Gender-Neutral pronouns when
referring to an individual is now considered grammatically correct.

2. This action and decision stand as a written warning regarding the use of preferred
pronouns. If Professor Bugg continues to refuse to make a good faith effort to use
preferred pronouns it will be considered an additional violation of policy 5.60 and 5.27
and may result in further sanctions up to and including termination.

3. If Professor Bugg refuses to make a good faith effort to use pronouns requested by SUU
students, and as a result, students refuse to register for sections of classes he teaches,
SUU will open additional sections of those classes and Professor Bugg’s pay will be
reduced to offset the amounts SUU must pay for the additional sections.

In response to these sanctions imposed by Kevin Price, Assistant Vice President for Human
Resources and Responsible University Administrator, and the findings from the Hearing Officer,
Steve Gordon, I received an appeal from Richard Bugg and another from                 .

One was received from Jerome H. Mooney of Weston, Garrou, and Mooney, who represents
Richard Bugg dated May 26, 2022. A second appeal from             was received on May
25, 2022

The appeal from Jerome H. Mooney on behalf of Richard Bugg includes two requests, based on
the foundation that the sanctions are clearly unreasonable. These appeal requests are: 1) a
request to remove compelling Richard Bugg to use “plural pronouns for single individuals,
something he finds improper not for religious reasons, but for political reasons'' and 2) “the
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.126 Page 7 of 57



sanctions create a “shadow class” at Professor Bugg’s expense” as “[t]his is akin to fining him if
he does not comply.”

The first appeal assumes that the use of “they” (or similar variations of the pronoun) solely refers
to a single individual. Regardless of the reasons (political, religious, etc…), this is an incorrect
statement. The current use of the pronoun “they” includes referring to a “single person who’s
gender identity is nonbinary” as noted in Finding 39. This is further supported in findings 40-44,
which incorporate current definitions of “they” from external, reliable sources.

The second ground for appeal suggests that creating a “shadow class” would be akin to fining
Richard Bugg for his failure to deploy correct and current uses of the “they” pronoun. However,
the appeal fails to recognize that the cost of a newly created section is a real cost and that the
substantial disruption to the student learning and their course has already been demonstrated,
such that University has already incurred this type of cost as a result of Richard Bugg’s policy
violation. This sanction is more akin to a cost recovery measure than a fine to Richard Bugg and
is tied directly to his conduct that violated SUU policy.

Based on this logic, the first and second reasons for appealing these sanctions are denied. This
decision is based on a current and correct usage of the pronoun “they” and cost recovery
directly associated with creating shadow sections of courses as described.

              ’s appeal requested that the implemented sanctions remain in force and that an
additional sanction be added to include “focuses on protecting incoming students.”

In response to               ’s appeal, I am adding an additional sanction to the three imposed
by Kevin Price as outlined above. This sanction relates to the syllabus statement that was at
issue in this case.

Each academic course includes learning outcomes that should be accomplished by students
who complete the course. It seems there is significant inconsistency in the syllabus statements
and policies related to various versions of the course under scrutiny. Some of these variations
(as included in various testimonies) show significant differences in introductory syllabus
statements. It seems reasonable that statements included in Richard Buggs syllabus should be
similar to the syllabi statements included in other sections of the same course, or, at least be
compliant with departmental guidance. In fact, one reading of Richard Bugg’s introductory
statement in the syllabus on political neutrality could read as if Richard was inviting political
debate rather than focusing the language on the process of acting.

The guidance included in the department’s undergraduate student handbook includes this
statement: “Gender Identity Announcement: Students have the right to express their gender
identity freely. The faculty are committed to creating a safe and positive learning environment for
each and every student. If a student would prefer that we use a specific gender pronoun, please
let faculty know during class introductions, office hours, or by email.” (Undergraduate Student
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.127 Page 8 of 57



Handbook SUU CPVA TDAA. Undergraduate Student Handbook. 2020 revision, P. 12,
https://www.suu.edu/pva/ta/pdf/student-handbook-2020-revised.pdf)

Additional Sanction: Professor Richard Bugg must review, and edit as necessary, his syllabus
language to ensure it aligns with department guidance related to gender pronouns, and submit
the syllabus for approval by the Department Chair two weeks before the start of the Fall 2022
semester.

In summary, the three original sanctions as implemented by Kevin Price remain in force and a
fourth sanction is added as noted above.

This decision brings the current issue to closure, as it is the final decision of the University.

Best regards,




Jon Anderson
Provost


Cc:    Dr. Brian Swanson, Department Chair
       Dr. Shauna Mendini, Dean
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.128 Page 9 of 57




 1

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 3

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 5

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 7

 8

 9

10

11

12

13
                                    EXHIBIT C
14

15                                SUU Policy 5.27
16

17

18

19

20

21

22

23

24

25

26

27

28


                                    COMPLAINT
    Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.129 Page 10 of 57


                                                                                                 Policy # 5.27
                                SOUTHERN UTAH UNIVERSITY                              Date Approved: 11/02/90
                                    Policies and Procedures                           Date Amended: 08/26/10
                                                                                     Reviewed w/ No Changes:
                                                             Office of Responsibility: General Counsel/VP FA
                                                                                                  Page 1 of 15


SUBJECT:            NON-DISCRIMINATION / ANTI-HARASSMENT


5.27.1. INTRODUCTION:

Southern Utah University is committed to being a haven for the exchange of ideas between
people with diverse backgrounds, opinions and ideologies. In order to encourage this exchange,
the University will endeavor to provide an environment free from discrimination and harassment.
SUU complies with all state and federal laws regarding unlawful discrimination and harassment,
which include, but are not limited to: Titles VI and VII of the Civil Rights Act of 1964; Title IX
of the Educational Amendments of 1972; Sections 503 and 504 of the Rehabilitation Act of
1973; the Americans with Disabilities Act; Vietnam Era Veterans’ Readjustment Assistance Act
of 1974; Executive Order 11246 (as amended); the State of Utah Anti-Discrimination Act; and
others as applicable.

5.27.2. PURPOSE:

           A.       To educate and provide a clearer understanding of legal and policy
                    pronouncements prohibiting discrimination and harassment in the workplace or
                    academic environment. This policy is not intended to address student-to-student
                    peer discrimination or harassment. Such conduct is governed by Policy 11.2 and
                    13.20.

           B.       To prevent, at the earliest possible opportunity, conduct that is inconsistent with
                    these pronouncements.

           C.       To provide guidance in processing complaints alleging policy violations,
                    investigating those allegations, and implementing disciplinary or corrective action
                    as appropriate to the circumstances.

5.27.3. POLICY:

           A.       Discrimination. Intentionally dealing with a person, either preferentially or
                    detrimentally, because of his or her race, religion, national origin, color, sex
                    (gender), age, disability, marital, veteran, sexual orientation, or other legally
                    protected status, unless otherwise provided by statute1, constitutes unlawful
                    discrimination and is prohibited under this policy as well as state and federal law.

           B.       Harassment. Intentional behavior directed at a person primarily because of his or
                    her race, religion, national origin, color, sex (gender), age, disability, marital,
                    veteran, sexual orientation, or other legally protected status constitutes harassment

1
    Veterans’ hiring preference is defined in UCA 71-10-1, et. seq.


                                                     Exhibit B - 1
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.130 Page 11 of 57


                                                                                  Policy # 5.27
                       SOUTHERN UTAH UNIVERSITY                        Date Approved: 11/02/90
                           Policies and Procedures                     Date Amended: 08/26/10
                                                                      Reviewed w/ No Changes:
                                              Office of Responsibility: General Counsel/VP FA
                                                                                   Page 2 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


           and is prohibited under this policy, and may constitute illegal discrimination
           under state and federal law.

     C.    Prohibited behavior or conduct includes the following:

           1.     That which is demeaning, ridiculing, derisive, or coercive, on a severe or
                  pervasive basis, resulting in a hostile or intimidating working or learning
                  environment;

           2.     That resulting in a tangible employment action being taken against an
                  employee, a tangible work benefit being granted or denied an employee,
                  or tangible effect in grading or academic advancement of a student.

                  a.      Severe behavior refers to that which is repugnant, that which is
                          extremely offensive to a reasonable person, or that which occurs
                          with indifference to the ordinary sensibilities of a reasonable
                          person.

                  b.      Pervasive behavior refers to that which occurs repeatedly or in
                          some pattern over a period of time, having the effect of interfering
                          with a person’s work or academic performance, or creating a
                          hostile environment. Pervasive behavior may be found in repeated
                          verbal or other suggestive conduct that an ordinary person would
                          view as vulgar, obscene, or intimating an interest in a relationship
                          that would be unwelcome, unprofessional or create a conflict of
                          interest in the employment or academic environment.

                  c.      The more severe the behavior, the less pervasive it need be to meet
                          this test, and the less severe the behavior, the more pervasive it
                          need be to meet this test. In the case of extreme and outrageous
                          behavior, a single event may be deemed severe enough to meet this
                          test.

                  d.      A hostile environment includes, but is not limited to, one in which
                          a reasonable person can establish that he or she is the target of
                          conduct by a supervisor, co-worker, faculty member, staff member,
                          volunteer, campus contractor, or student that is sufficiently severe
                          or pervasive to alter the conditions of his or her employment or
                          education. A hostile environment generally assumes that the
                          behavior is pervasive and directed at a victim who must work or

                                      Exhibit B - 2
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.131 Page 12 of 57



                                                                                 Policy # 5.27
                       SOUTHERN UTAH UNIVERSITY                       Date Approved: 11/02/90
                           Policies and Procedures                    Date Amended: 08/26/10
                                                                     Reviewed w/ No Changes:
                                             Office of Responsibility: General Counsel/VP FA
                                                                                  Page 3 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


                           attend there, or is otherwise entitled or expected to be there for
                           work or academic purposes.

     D.    Behavior or conduct constituting sexual harassment is also prohibited under this
           policy as well as state and federal law. Inappropriate conduct may be found
           between persons of different gender, the same gender, and in instances of gender
           stereotyping.

           1.     Sexual harassment is defined as conduct of a sexual nature, physical or
                  verbal, by an individual in an official University position when:

                  a.       Submission to such conduct is made either explicitly or implicitly a
                           term or condition of an individual's employment or academic
                           standing; or,

                  b.       Submission to or rejection of such conduct by an individual is used
                           as the basis for employment or academic decisions affecting that
                           individual.

           2.     Sexual harassment may also be found in conduct of a sexual nature that is
                  sufficiently severe or pervasive, which has the effect of altering the
                  conditions of an individual’s employment, or creating an abusive or
                  untenable academic or working environment.

                  a.       Severe conduct may include, but is not limited to, requests for
                           sexual relations, physical touching, and other conduct that has the
                           intent or effect of conveying an unwelcome sexual suggestion,
                           particularly where such have been clearly declined and disapproval
                           expressed. However, “simple teasing,” offhand comments, and
                           isolated incidents (unless extremely serious) will not constitute an
                           abusive or untenable environment.

                  b.       Intentional physical contact with a part of the body that is intimate
                           or gender specific is, by its nature, severe, and may also constitute
                           the crime of sexual battery or assault under state law. This conduct
                           is prohibited; and need not be pervasive to constitute a violation
                           under this policy. Anyone believing him/herself to be a victim of
                           such conduct is encouraged to file a complaint under this policy,
                           and encouraged to contact Campus Police.


                                       Exhibit B - 3
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.132 Page 13 of 57


                                                                                  Policy # 5.27
                       SOUTHERN UTAH UNIVERSITY                        Date Approved: 11/02/90
                           Policies and Procedures                     Date Amended: 08/26/10
                                                                      Reviewed w/ No Changes:
                                              Office of Responsibility: General Counsel/VP FA
                                                                                   Page 4 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


     E.    If there is no apparent threat to, or reasonable apprehension for personal safety, a
           person experiencing conduct he/she believes to constitute discrimination,
           harassment, or sexual harassment is encouraged to confront the alleged violator
           and clearly communicate his/her disapproval of such behavior, indicating that it is
           unwelcome and/or inappropriate, and that it will not be tolerated in the future.
           This effort is encouraged as a means of stopping and preventing such behavior in
           the future. It is also recommended that such a confrontation be documented for
           use in support of any future complaint or investigation.

     F.    Violators will be subject to discipline under this policy, guided but not controlled
           by other University policies, and may, where the conduct warrants, be referred for
           criminal prosecution. Discipline will be determined consistent with the severity
           and overall nature of the behavior and need not follow any “progressive
           discipline” format. Conduct found to be substantially severe and pervasive may
           result in termination from employment or other disciplinary or corrective action
           designed to prevent future repetitions. The imposition of disciplinary and/or
           corrective action may be considered as follows:

           1.     In the case of a faculty member, a violation is considered to be highly
                  unprofessional and discipline will be guided by Policy 6.28, Section VI;

           2.     In the case of a classified or professional staff employee:

                  a.      In probationary status, the alleged offender will be dismissed,
                          unless that is deemed inappropriate by his/her Vice President, who
                          will specify the appropriate discipline;

                  b.      Not in probationary status, discipline will be guided by Policy
                          8.3.5, Section III., B.

           3.     In the case of a campus volunteer, the volunteer will not be recalled to
                  service. Reported incidents and any documentation will be filed with
                  campus police and subject to state and federal laws.

           4.     In the case of an on-campus contractor, the job supervisor will be notified
                  with the expectation that the contractor’s alleged offending employee(s) or
                  sub-contractor’s alleged offending employee(s) will be disciplined and re-
                  assigned away from the on-campus job site. A report may also be filed
                  with the campus police, and the alleged offender dealt with under
                  applicable state and/or federal laws.

                                      Exhibit B - 4
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.133 Page 14 of 57


                                                                                      Policy # 5.27
                           SOUTHERN UTAH UNIVERSITY                        Date Approved: 11/02/90
                               Policies and Procedures                     Date Amended: 08/26/10
                                                                          Reviewed w/ No Changes:
                                                  Office of Responsibility: General Counsel/VP FA
                                                                                       Page 5 of 15


SUBJECT:       NON-DISCRIMINATION / ANTI-HARASSMENT


               5.     In the case of a student violation, (e.g. proposing or intimating a sexual
                      relationship with a faculty member, staff member or campus volunteer),
                      the student will be referred to the Dean of Students and the conduct will be
                      addressed under Policies 11.2 and 13.20.

               6.     In the case of an on-campus visitor, reported incidents and any
                      documentation should be filed with campus police and the alleged
                      offender dealt with under applicable state and/or federal laws.

          G.   A faculty member, staff member, or campus volunteer will be subject to
               disciplinary or corrective action for harassment and/or sexual harassment of
               another employee or of a student, even if that harassment occurs outside of
               scheduled work time, away from regular work location, or off campus.

5.27.4.        BURDEN OF PROOF:

          A.   The accused is presumed to be innocent until it is proven by a preponderance of
               the information obtained that he/she has violated this policy.

          B.   Anyone asserting “consent,” as excusing or mitigating an accusation of behavior
               otherwise prohibited under this policy, will bear the burden of rebutting a strong
               presumption to the contrary. The assertion of consent would mean that the
               behavior was mutually agreeable to the involved parties. The presumption must
               ordinarily be rebutted by a preponderance of information showing affirmative
               statements or conduct communicating consent. Consent will not ordinarily be
               inferred from a party’s or co-worker’s tolerance, or immediate failure to confront
               a person or persons engaged in prohibited conduct.

               1.     The basis for the presumption includes, but is not limited to, the following:

                      a.      The behavior is prohibited by this policy.

                      b.      The behavior has become the subject of a complaint.

                      c.      Parties are often in an unequal position where one is in a position
                              of power or authority and the other is a subordinate or student.

                      d.      Behavior between two persons that is consensual can form the
                              basis for a third-party complaint alleging that the behavior resulted
                              in less favorable treatment of the non-consenting or non-
                              participating third party.

                                          Exhibit B - 5
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.134 Page 15 of 57


                                                                                    Policy # 5.27
                         SOUTHERN UTAH UNIVERSITY                        Date Approved: 11/02/90
                             Policies and Procedures                     Date Amended: 08/26/10
                                                                        Reviewed w/ No Changes:
                                                Office of Responsibility: General Counsel/VP FA
                                                                                     Page 6 of 15


SUBJECT:     NON-DISCRIMINATION / ANTI-HARASSMENT


             2.     Where the presumption is rebutted, and consent is shown:

                    a.      The consenting parties may be subject to discipline for having
                            consensually engaged in prohibited conduct.

                    b.      Any discipline warranted by the prohibited conduct may, but need
                            not be, mitigated by the consent.

                    c.      A third-party complaint resulting from the consensual conduct will
                            be considered to be equally asserted against all consenting
                            individuals.

      C.

             1.     Because of the inherent differential in authority, Southern Utah University
                    prohibits any faculty from engaging in a romantic and/or sexual
                    relationship with any undergraduate or graduate student currently enrolled
                    at the university when one participant has direct evaluative or supervisory
                    authority over the other because such relationships create an inherent
                    conflict of interest. (See Policy 6.28. IV.J.) When such cases arise, the
                    individual in the evaluative or supervisory position has an obligation to
                    disclose the relationship to his or her administrative superior and to
                    cooperate in removing himself or herself from any such evaluative or
                    supervisory activity in order to eliminate the existing or potential conflict
                    of interest, or the likelihood of a complaint being filed under this policy.
                    Exceptions to this prohibition include legally recognized or recognizable
                    marriages.

             2.     Consensual relationships between employees in a supervisor / subordinate
                    relationship are also prohibited. Persons wishing to pursue such a
                    relationship should seek a transfer to another campus department so as to
                    eliminate or minimize the possibility of a complaint or conflict of interest.

             3.     Consensual relationships between persons in a position of lateral or equal
                    authority are discouraged as such may form the basis for a third-party
                    complaint where co-workers observe conduct that would otherwise be
                    prohibited under this policy, and which may be unproductive and
                    inappropriate in the workplace.

5.27.5. Complaint Procedure.


                                        Exhibit B - 6
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.135 Page 16 of 57


                                                                                     Policy # 5.27
                         SOUTHERN UTAH UNIVERSITY                         Date Approved: 11/02/90
                             Policies and Procedures                      Date Amended: 08/26/10
                                                                         Reviewed w/ No Changes:
                                                 Office of Responsibility: General Counsel/VP FA
                                                                                      Page 7 of 15


SUBJECT:      NON-DISCRIMINATION / ANTI-HARASSMENT


Anyone claiming harm from prohibited conduct who seeks investigation and remediation
through on-campus procedures, is encouraged to file a complaint and engage in the processes
provided below. The University will make reasonable efforts to ensure that the process is free
from bias, collusion, intimidation or retaliation.

       A.     Complaints should be brought as soon as possible, and must be filed within four
              (4) months of the most recent violation. Where the interests of fairness require,
              this time limit may be extended with the consensus of the Human Resources
              Director, or designate (“Director”), the responsible Vice President (“Vice
              President”) and University Counsel.

              A person claiming discrimination or sexual harassment who desires state or
              federal review, must initiate a “Request for Agency Action” with the Utah
              Anti-Discrimination and Labor Division (“UALD”) within 180 days; or a
              complaint with the Equal Employment Opportunity Commission (“EEOC”)
              within 300 days from the from the date of last harm (not from the date that
              the complaint to the University is filed or resolved).

       B.     An individual who experiences prohibited conduct; or an individual who is
              observing or otherwise aware of such prohibited conduct is encouraged to:

              1.      Document the occurrence;

              2.      Identify any witness or witnesses;

              3.      Confront the offender and indicate disapproval of the conduct; and/or,

              4.      Continue to report to work, or other standard venue, unless the
                      circumstances reasonably indicate an apparent threat to, or reasonable
                      apprehension for personal safety.

       C.     An individual faculty member, staff member, administrator, student, campus
              volunteer, or third-party observer may orally assert, or file a written complaint
              alleging that prohibited discrimination, harassment or sexual harassment has
              occurred. This may be done by an alleged victim or on behalf of an alleged
              victim by a campus administrator, as circumstances dictate.

       D.     A complaint may be filed with the Human Resources Director, with the alleged
              victim’s immediate supervisor, or with anyone in an administrative position
              below the Vice President responsible for the department in which the alleged


                                          Exhibit B - 7
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.136 Page 17 of 57



                                                                                 Policy # 5.27
                     SOUTHERN UTAH UNIVERSITY                         Date Approved: 11/02/90
                         Policies and Procedures                      Date Amended: 08/26/10
                                                                     Reviewed w/ No Changes:
                                             Office of Responsibility: General Counsel/VP FA
                                                                                  Page 8 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


           violator is employed. Once received, all complaints must be forwarded to the
           Director for investigation and recommendation back to the responsible Vice
           President for final disciplinary, corrective or other appropriate action.

     E.    Complaints will be handled with such confidentiality as may be reasonably
           available under the circumstances.

           Absolute confidentiality is not and cannot be guaranteed.

     F.    Any supervisor who has knowledge of prohibited conduct is expected to take
           immediate action intended to prevent further violation, document the action, and
           provide a report to the Human Resource Office. This report may either support or
           constitute a complaint as circumstances dictate.

     G.    Upon receiving a complaint or report of alleged violation:

           1.     Where the Director, on initial review, finds that the alleged violation
                  meets the minimum requirements of Section 5.27.3, above, an
                  investigation will be conducted as provided in Section 5.27.6, below. Any
                  violation found will be resolved in accordance with this policy; or,

           2.     Where the Director, on initial review, finds the complaint or information
                  insufficient to pursue an investigation (e.g. conduct not pervasive; but
                  inappropriate), the Director will schedule a meeting with the complainant,
                  the supervisor of the alleged violator, Legal Counsel and/or others as
                  appropriate to communicate this determination and to consider any
                  remedial action as may be appropriate.

     H.    Should a complaint involve the Director, a Vice President or other person
           designated by this policy to make or implement a recommendation or decision,
           the University President will temporarily appoint a substitute for purposes of
           processing, investigating and resolving the complaint.



5.27.6. INVESTIGATIVE PROCEDURE:

     A.    There will be a minimum of nine (9) trained investigators selected by the Director
           of Human Resources from faculty and staff. These investigators will be trained in
           appropriate investigation methods. They will be composed into investigation


                                      Exhibit B - 8
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.137 Page 18 of 57


                                                                                   Policy # 5.27
                     SOUTHERN UTAH UNIVERSITY                           Date Approved: 11/02/90
                         Policies and Procedures                        Date Amended: 08/26/10
                                                                       Reviewed w/ No Changes:
                                               Office of Responsibility: General Counsel/VP FA
                                                                                    Page 9 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


           teams of three: One female, one male and a third assigned at random
           (“Investigation Team”). The Investigation Team will not serve in an advocate
           role; but rather, as neutral, impartial investigators. If during the course of their
           investigation a conflict of interest becomes apparent, or is asserted by any party
           relative to any member of the Investigation Team, it will be brought to the
           attention of the Director of Human Resources who can consider substitution
           within the Investigative Team, or other appropriate action.

     B.    The complainant may make specific requests relating to the investigation process
           and the Investigation Team. The Investigation Team will attempt to comply with
           these requests, but is not bound to do so. The Investigation Team – in
           consultation with other appropriate individuals, as necessary – may take whatever
           action they see as necessary and appropriate to determine the accuracy or validity
           of the allegations and make such recommendations they think reasonable to
           resolve the complaint.

     C.    Where a complaint is investigated:

           1.     The Investigation Team is authorized to ask questions of the complainant,
                  the victim (if not the complainant), the accused, and all others having
                  information, as their names become known to the investigators in the
                  course of their investigation. Investigators will have authority and
                  discretion to ask such questions and obtain such documents and other
                  information as the circumstances and details provided may require. If the
                  Investigation Team discovers information to substantiate violations not
                  asserted in the complaint, or other victims not otherwise known to the
                  complainant, the investigators will notify the Director who has authority
                  and discretion to construe the complaint to best prevent future violations
                  and achieve the greatest fairness in the circumstances. Instances
                  discovered to be outside the four month time frame in Section 5.27.4(1),
                  above, must be evaluated for inclusion or exclusion, as provided under
                  that section.

           2.     The complainant, the victim (if not the complainant), the accused and
                  others interviewed may request confidentiality or anonymity, and such
                  request(s) will generally be honored by the Investigation Team to the
                  practical extent possible, unless in their judgment such is not in the best
                  interest of the investigation, the University, other parties; or, is
                  fundamentally unfair to the accused unless it is otherwise prohibited or
                  affected by applicable law.

                                       Exhibit B - 9
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.138 Page 19 of 57


                                                                                  Policy # 5.27
                       SOUTHERN UTAH UNIVERSITY                        Date Approved: 11/02/90
                           Policies and Procedures                     Date Amended: 08/26/10
                                                                      Reviewed w/ No Changes:
                                              Office of Responsibility: General Counsel/VP FA
                                                                                  Page 10 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


           3.     Once referred for investigation, the complaint will be investigated as
                  promptly as possible in the circumstances, and recommendations will be
                  forwarded to the Director of Human Resources - ideally within one month.

           4.     Unless the Investigation Team finds the complaint to be groundless prior
                  to interviewing the accused, the accused must be presented with a copy of
                  the complaint (or an appropriate summary, as confidentiality and
                  anonymity may require) and must be allowed the opportunity to respond,
                  explain or refute its allegations, or other information provided within 14
                  calendar days, before the investigation can be concluded.

           5.     In conducting their investigation, the Investigation Team will make
                  reasonable efforts to preserve the dignity, respect and reputation of all
                  parties and others involved.

           6.     Once the accused is made aware of the complaint, he/she will not
                  knowingly communicate with the complainant (and the alleged victim if
                  not the complainant) regarding the alleged violation(s) and should avoid
                  any conduct which could be construed as retaliatory. Proof of retaliation
                  may result in additional disciplinary action as provided below.

     D.    Results of Investigation

                  1.      Upon concluding its investigation, if the Investigation Team, by
                          majority, finds:

                          a.     That the allegations have been supported by a
                                 preponderance of the information; or,

                          b.     That the accusations were made falsely, as described in
                                 5.27.8, or as a matter of vindictive or retaliatory conduct, as
                                 described in 5.27.7, below; or,

                          c.     That the accusations are not supported by a preponderance
                                 of the information;

                          Their written findings and recommendations will be submitted to
                          the Director of Human Resources and the accused.

                  2.      Upon receiving the findings and recommendations of the
                          Investigation Team, the Director of Human Resources will forward

                                      Exhibit B - 10
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.139 Page 20 of 57



                                                                            Policy # 5.27
                  SOUTHERN UTAH UNIVERSITY                       Date Approved: 11/02/90
                      Policies and Procedures                    Date Amended: 08/26/10
                                                                Reviewed w/ No Changes:
                                        Office of Responsibility: General Counsel/VP FA
                                                                            Page 11 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


                      these findings and recommendations to the appropriate Vice
                      President.

                      Where:

                      a.       The findings indicate a policy violation by a tenured faculty
                               member, professional-in-residence (during the term of
                               contract), or non-probationary staff member,

                               1.     The Vice President having line authority over the
                                      accused will meet with him/her to review the
                                      findings and proposed disciplinary or corrective
                                      action.

                               2.     The accused will have the opportunity to respond
                                      and be heard in this meeting.

                               3.     The accused may have a representative accompany
                                      him/her at this meeting for advice and support – the
                                      representative will not speak on behalf of the
                                      accused, unless permitted by the Vice President.

                               4.     The Vice President will meet separately with the
                                      complainant for the same purpose, and may (in
                                      his/her discretion) meet with the victim, if other
                                      than the complainant, to summarize the findings and
                                      disciplinary or other corrective action. The
                                      complainant may also have a representative at this
                                      meeting.

                               5.     After hearing the accused and the complainant, the
                                      Vice President may confer with the Investigation
                                      Team, or others, if necessary, to be fully advised
                                      before finalizing and imposing disciplinary or other
                                      corrective action.

                               6.     The affected faculty or staff member will be
                                      notified of final disciplinary or corrective action in
                                      writing, with a copy to his/her personnel file.


                                    Exhibit B - 11
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.140 Page 21 of 57



                                                                                 Policy # 5.27
                  SOUTHERN UTAH UNIVERSITY                            Date Approved: 11/02/90
                      Policies and Procedures                         Date Amended: 08/26/10
                                                                     Reviewed w/ No Changes:
                                             Office of Responsibility: General Counsel/VP FA
                                                                                 Page 12 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


                      b.    The findings indicate a policy violation by an adjunct
                            professor, a tenure-track professor, visiting faculty,
                            probationary staff member, or campus volunteer,

                             7.          The Vice President may dismiss from employment
                                         or impose corrective action on that person without
                                         a review meeting or other process.

                             8.          The affected person will be notified of final action
                                         in writing, with a copy to his/her personnel file. A
                                         campus volunteer will be notified by best available
                                         means.

                      c.    The findings indicate that the accusations were made
                            falsely or as vindictive or retaliatory conduct –

                            1.           By a faculty member, staff member, or campus
                                         volunteer,

                                    i.          The Vice President over the accused (where
                                                he/she does not have line authority over the
                                                other party) will advise the Vice President
                                                over the complainant (or victim, if other
                                                than the complainant). They will review the
                                                findings and recommendations.

                                   ii.          The appropriate Vice President will then
                                                meet with the parties involved and will
                                                finalize and impose appropriate disciplinary
                                                or other corrective action.

                                  iii.          The affected person will be notified of
                                                disciplinary or other corrective action in
                                                writing, with a copy to his/her personnel
                                                file.

                                  iv.           A campus volunteer will be notified by best
                                                available means.

                            2.           By a student, the Dean of Students will be notified,


                                  Exhibit B - 12
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.141 Page 22 of 57



                                                                               Policy # 5.27
                     SOUTHERN UTAH UNIVERSITY                       Date Approved: 11/02/90
                         Policies and Procedures                    Date Amended: 08/26/10
                                                                   Reviewed w/ No Changes:
                                           Office of Responsibility: General Counsel/VP FA
                                                                               Page 13 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


                                          and the conduct will be addressed under Policies
                                          11.2 and 13.20.

           9.     In the process of investigating a policy violation, if an Investigation Team
                  finds what they believe to be evidence of criminal conduct, their
                  information will be forwarded to the Director of Human Resources and
                  Campus Legal Counsel for review and referral to the County Attorney or
                  Attorney General's Office as appropriate. These offices have independent
                  discretion to pursue further review, investigation and prosecution, as they
                  find appropriate. Any policy violation will be addressed under paragraphs
                  A. and B., above.

           10.    If the Investigation Team determines that the allegations were not
                  supported, written findings to that effect will be provided to the Director
                  of Human Resources and the complaint dismissed.

           11.    The meeting with the Vice President, specified above, providing the
                  accused violator with the opportunity to be heard on the findings and
                  proposed disciplinary or other corrective action, constitutes and
                  fulfills all legal and policy requirements for faculty/staff due process
                  on the complaint.

5.27.7. RETALIATION:

     A.    No one may retaliate (“retaliation”) against any faculty member, staff member,
           student or campus volunteer that initiates a complaint or participates in the
           resolution of a complaint made under this policy.

     B.    Retaliation may include, but is not limited to:

           1.     Open hostility to any complainant, participant or others involved;

           2.     Exclusion or ostracism of the complainant, participant or others;

           3.     Creation of, or the continued existence of, a hostile work environment;

           4.     Special attention to or assignment of the complainant, participant or others
                  to demeaning duties not otherwise performed in the ordinary course of
                  routine employment or in the ordinary course of established course study
                  as provided by or reasonably inferred from the syllabus;


                                      Exhibit B - 13
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.142 Page 23 of 57


                                                                                  Policy # 5.27
                     SOUTHERN UTAH UNIVERSITY                          Date Approved: 11/02/90
                         Policies and Procedures                       Date Amended: 08/26/10
                                                                      Reviewed w/ No Changes:
                                              Office of Responsibility: General Counsel/VP FA
                                                                                  Page 14 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


           12.    Tokenism or patronizing behavior;

           13.    Discriminatory treatment;

           14.    Subtle harassment; or

           15.    Imposing unreasonable time restrictions on employees in preparing
                  complaints or compiling information related to prohibited conduct.

     C.    Any act of retaliation toward the complainant, witnesses or others involved in the
           investigation shall be subject to additional corrective or disciplinary action as
           provided in Section 5.27.6 (D) (2) (c), above.

5.27.8. FALSE ACCUSATIONS

     A.    Accusations of conduct prohibited under this policy can have long-term effects on
           the professional reputation and potential for career advancement of anyone so
           accused.

     B.    Recognizing this, anyone making knowingly false or materially inaccurate
           accusation(s) of prohibited conduct, if so determined in the course of evaluating a
           complaint, will be subject to disciplinary or corrective action appropriate to the
           circumstances as provided in Section 5.27.6 (D) (2) (c), above. Discipline may
           include termination from employment or expulsion from the University.

5.27.9. RECORDS

     A.    All records of complaints, investigations, findings and recommendations
           considered or accumulated under this policy [“records”] are classified as
           “PROTECTED” under the Utah Government Records Access and Management
           Act (“GRAMA”).

     B.    Records will be maintained and stored in the Human Resources Office. Removal
           or disposal of records in the protected file may only be done with the approval of
           the University President, and only after minimum retention time (as may be
           provided by state law or University practice) have been met. In any case, records
           will be kept for a minimum of three years from the resolution of the complaint or
           investigative proceeding.

     C.    Supervisors will not keep separate files related to complaints of prohibited
           conduct.

                                      Exhibit B - 14
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.143 Page 24 of 57




                                                                                  Policy # 5.27
                     SOUTHERN UTAH UNIVERSITY                          Date Approved: 11/02/90
                         Policies and Procedures                       Date Amended: 08/26/10
                                                                      Reviewed w/ No Changes:
                                              Office of Responsibility: General Counsel/VP FA
                                                                                  Page 15 of 15


SUBJECT:   NON-DISCRIMINATION / ANTI-HARASSMENT


     D.    Information contained in the protected file will only be released by the University
           President or the Director of Human Resources, when in compliance with the
           requirements of applicable law, after consultation with Campus Legal Counsel.

     E.    Participants in any investigation or implementation of disciplinary or other
           corrective or remedial action shall treat all information as protected and
           confidential.

     F.    Final disposition of a complaint will be communicated to the accused violator, the
           responsible Vice President, the complainant, and at the discretion of the Vice
           President, the victim(s), if other than the complainant.




                                     Exhibit B - 15
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.144 Page 25 of 57




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                                    EXHIBIT D
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15                                 SUU Policy 5.60
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                                     COMPLAINT
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.145 Page 26 of 57



                                                                                            Policy # 5.60
                              SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                                 Policies and Procedures                        Date Amended: 08/07/20
                                                                               Reviewed w/ No Changes:
                                                                        Office of Responsibility: Title IX
                                                                                             Page 1 of 32


        SUBJECT:    SEXUAL MISCONDUCT


   I.        PURPOSE & POLICY STATEMENT

             This policy defines and prohibits discrimination on the basis of sex, including sexual
             harassment, in education programs and activities; details how to report a violation of this
             policy; describes Southern Utah University resources and supportive measures to protect
             those involved in the process; and outlines investigation, disciplinary, and due process
             procedures for addressing reported violations of this policy. This policy applies to all
             persons who are (1) employed by, attending, or affiliated with the University; (2)
             participating in any University program or activity, including but not limited to trustees,
             administrators, faculty, staff, students, independent contractors, volunteers, and guests;
             and/or (3) visiting campus or any property owned or leased by the University.

  II.        REFERENCES

             Americans with Disabilities Act (ADA) (as amended)
             Campus Sexual Violence Elimination Act (SaVE)—Reauthorization of the Violence
             against Women Act of 2013 (VAWA)
             Family Educational Rights and Privacy Act (FERPA)
             Heath Insurance Portability and Accountability Act (HIPAA)
             Jeanne Clery Disclosure of Campus Security Police and Campus Crime Statistics Act
             (Clery Act)
             Title VII of the Civil Rights Act of 1964 (Title VII)
             Title IX of the Higher Education Amendments Act of 1972 (Title IX)
             Utah Code § 53B-27-101 et seq. Campus Advocate Confidentiality Amendments
             Utah Code § 53B-28-302 Code of Conduct Violation-Report of Sexual Violence
             Utah Code § 53B-28-304 Criminal Retaliation Against a Victim or a Witness
             Utah Code § 63G-2 Government Records Access and Management Act (GRAMA)
             Utah Code § 63G-7-301 Waivers of Immunity-Exceptions
             Utah Code § 76-5-404.1 Sexual Abuse of a Child
             Utah Code § 77-36 Cohabitant Abuse Procedures Act
             Utah Code § 77-38 Rights of Crime Victims Act




                                              Exhibit A - 1
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.146 Page 27 of 57



                                                                                             Policy # 5.60
                             SOUTHERN UTAH UNIVERSITY                            Date Approved: 03/24/17
                                Policies and Procedures                          Date Amended: 08/07/20
                                                                                Reviewed w/ No Changes:
                                                                         Office of Responsibility: Title IX
                                                                                              Page 2 of 32


        SUBJECT:    SEXUAL MISCONDUCT


             Utah Board of Higher Education Policy R256 Student Disciplinary Processes
             Utah Board of Higher Education Policy R842 Restrictions on Faculty/Staff Relationships
             with Student
  III.       SCOPE OF THE POLICY

             This policy applies to all employees of the University and any persons participating, or
             attempting to participate, in any University Program or Activity. To the extent that any
             other University policies address sex discrimination, sexual harassment, or retaliation, as
             defined in this policy, this policy and its procedures govern.

  IV.        DEFINITIONS

             A.     Actual knowledge: Notice of sexual harassment or allegations of sexual
                    harassment to the Title IX Coordinator or any official of the University who has
                    authority to institute corrective measures on behalf of the University. Imputation
                    of knowledge based solely on vicarious liability or constructive notice is
                    insufficient to constitute actual knowledge. This standard is not met when the
                    only official of the University with actual knowledge is the respondent. The mere
                    ability or obligation to report sexual harassment or to inform a student about how
                    to report sexual harassment, or having been trained to do so, does not qualify an
                    individual as one who has authority to institute corrective measures on behalf of
                    the University.

             B.     Complainant, victim, or alleged victim: An individual who is alleged to be the
                    victim of conduct that could constitute sexual harassment.

             C.     Consent: Consent to engage in a sexual encounter must be given by all
                    participating parties; must be clear, knowing, and voluntary; and may be given
                    only by someone who is 18 years of age or older and is not mentally and/or
                    physically incapacitated. Consent is active, not passive. Consent requires an
                    affirmatively communicated willingness through words and/or actions to
                    participate in sexual activity. Silence, in and of itself, may not be interpreted as
                    consent.

             D.     Dating Violence: as defined at 34 U.S.C. 12291(a)(10), dating violence means
                    violence committed by a person (A) who is or has been in a social relationship of
                    a romantic or intimate nature with the victim; and (B) where the existence of such




                                              Exhibit A - 2
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.147 Page 28 of 57



                                                                                       Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                           Policies and Procedures                         Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                        Page 3 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               a relationship shall be determined based on a consideration of the following
               factors:

                      1.      The length of the relationship.

                      2.      The type of relationship.

                      3.      The frequency of interaction between the persons involved in the
                              relationship.

         E.    Discrimination: For purposes of this policy, adverse action towards University
               employees or students in the terms or conditions of employment; University
               admission or education; access to University programs, services, or activities; or
               other University benefits or services, on the basis of their inclusion or perceived
               inclusion (in the case of sexual orientation, gender identity, or gender expression)
               in the protected classes of sex, pregnancy, pregnancy-related conditions, sexual
               orientation, gender identity, or gender expression that has the effect of denying or
               limiting participation in a University program or activity.

         F.    Domestic Violence: as defined in 34 U.S.C. 12291(a)(8), domestic violence
               includes felony or misdemeanor crimes of violence committed by a current or
               former spouse or intimate partner of the victim, by a person with whom the victim
               shares a child in common, by a person who is cohabitating with or has cohabitated
               with the victim as a spouse or intimate partner, by a person similarly situated to a
               spouse of the victim under the domestic or family violence laws of the jurisdiction
               receiving grant monies, or by any other person against an adult or youth (ages
               11-24) victim who is protected from that person’s acts under the domestic or
               family violence laws of the jurisdiction.

         G.    Formal Complaint: A document filed by a complainant or signed by the Title IX
               Coordinator alleging sexual harassment against a respondent and requesting that
               the University investigate the allegation of sexual harassment. At the time of
               filing a formal complaint, a complainant must be participating in or attempting to
               participate in the education program or activity of the University with which the
               formal complaint is filed. A formal complaint may be filed with the Title IX
               Coordinator in person, by mail, or by electronic mail, by using the contact
               information required to be listed for the Title IX Coordinator, and by any
               additional method designated by the University. As used in this paragraph, the
               phrase “document filed by a complainant” means a document or electronic




                                        Exhibit A - 3
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.148 Page 29 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                       Page 4 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               submission (such as by electronic mail or through an online portal provided for
               this purpose by the University) that contains the complainant’s physical or digital
               signature, or otherwise indicates that the complainant is the person filing the
               formal complaint.

         H.    Incapacitation: An individual who is incapacitated cannot give consent to engage
               in a sexual encounter. Incapacitation is defined as the physical and/or mental
               inability to make informed, rational judgments. Factors that could be indications
               of incapacitation include but are not limited to mental or physical disability; lack
               of sleep; alcohol; illegal, date-rape, or prescription drug use; unconsciousness;
               blackout; or involuntary physical restraint. Being intoxicated by drugs or alcohol
               does not diminish one’s responsibility to obtain consent. The factors to be
               considered when determining whether consent was given include whether the
               accused knew, or whether a reasonable person should have known, that the
               complainant was incapacitated.

         I.    Party: Complainant or respondent.

         J.    Preponderance of evidence: The evidentiary standard used during a sexual
               misconduct investigation/review to determine if the allegations occurred and if a
               University policy violation has occurred. Preponderance of evidence means it is
               more likely than not, or more than 50 percent in favor, that the misconduct
               occurred as alleged.

         K.    Respondent: Respondent means an individual who has been reported to be the
               perpetrator of conduct that could constitute sexual harassment.

         L.    Retaliation: An action, performed directly or through others, that is aimed to
               dissuade a reasonable person from engaging in a protected activity or is done in
               retribution for engaging in a protected activity. Action in response to a protected
               activity is not retaliatory unless (i) it has a materially adverse effect on the
               working, academic, or other University-related environment of an individual and
               (ii) it would not have occurred in the absence of (but for) the protected activity.
               Examples of protected activities include reporting (internally or externally) a
               complaint of sexual harassment in good faith, assisting others in making such a
               report, or honestly participating as an investigator, witness, decision maker, or
               otherwise assisting, in an investigation or proceeding related to suspected sexual
               harassment.




                                        Exhibit A - 4
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.149 Page 30 of 57



                                                                                     Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                         Date Approved: 03/24/17
                           Policies and Procedures                       Date Amended: 08/07/20
                                                                        Reviewed w/ No Changes:
                                                                 Office of Responsibility: Title IX
                                                                                      Page 5 of 32


    SUBJECT:   SEXUAL MISCONDUCT


         M.    Sexual assault: as defined at 20 U.S.C. 1092(f)(6)(A)(v) and the uniform crime
               reporting system of the Federal Bureau of Investigation, sexual assault means any
               sexual act directed against another person, without the consent of the victim,
               including instances where the victim is incapable of giving consent; also unlawful
               sexual intercourse, including the following:

               1.     Rape—Any penetration, no matter how slight, of the vagina or anus with
                      any body part or object, or oral penetration by a sex organ of another
                      person, without the consent

               2.     Sodomy—Oral or anal sexual intercourse with another person, without the
                      consent of the victim, including instances where the victim is incapable of
                      giving consent because of his/her age or because of his/her temporary or
                      permanent mental or physical incapacity

               3.     Sexual Assault With An Object—To use an object or instrument to
                      unlawfully penetrate, however slightly, the genital or anal opening of the
                      body of another person, without the consent of the victim, including
                      instances where the victim is incapable of giving consent because of
                      his/her age or because of his/her temporary or permanent mental or
                      physical incapacity

               4.     Fondling—The touching of the private body parts of another person for
                      the purpose of sexual gratification without the consent of the victim,
                      including instances where the victim is incapable of giving consent
                      because of his/her age or because of his/her temporary or permanent
                      mental or physical incapacity

               5.     Incest—Nonforcible sexual intercourse between persons who are related
                      to each other within the degrees wherein marriage is prohibited by Utah
                      law. See Utah Code section 76-7-102.

               6.     Statutory Rape—Nonforcible sexual intercourse with a person who is
                      under Utah’s statutory age of consent. See Utah Code section 76-5-401 et
                      seq.

         N.    Sexual harassment: conduct on the basis of sex that satisfies one or more of the
               following: (1) An employee of the University conditioning the provision of an
               aid, benefit, or service of the University on an individual’s participation in




                                       Exhibit A - 5
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.150 Page 31 of 57



                                                                                        Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                            Date Approved: 03/24/17
                           Policies and Procedures                          Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                         Page 6 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               unwelcome sexual conduct; (2) Unwelcome conduct determined by a reasonable
               person to be so severe, pervasive, and objectively offensive that it effectively
               denies a person equal access to University education program or activity; or (3)
               “Sexual assault” as defined in 20 U.S.C. 1092(f)(6)(A)(v), “dating violence” as
               defined in 34 U.S.C. 12291(a)(10), “domestic violence” as defined in 34 U.S.C.
               12291(a)(8), or “stalking” as defined in 34 U.S.C. 12291(a)(30).

         O.    Sexual Assault Response Team (SART): A committee of trained
               interdepartmental University staff working collaboratively to provide services for
               the University community by offering specialized sexual assault intervention
               services, including but not limited to ensuring the immediate safety of the alleged
               victim, taking interim measures as necessary, and remediating the effects of
               substantiated sexual misconduct.

         P.    Stalking: as defined at 34 U.S.C. 12291(a)(30), stalking means engaging in a
               course of conduct directed at a specific person that would cause a reasonable
               person to (A) fear for their safety or the safety of others; or (B) suffer substantial
               emotional distress.

         Q.    Supportive Measures: Non-disciplinary, non-punitive individualized services
               offered as appropriate, as reasonably available, and without fee or charge to the
               complainant or the respondent before or after the filing of a formal complaint or
               where no formal complaint has been filed. Such measures are designed to restore
               or preserve equal access to the University’s education program or activity without
               unreasonably burdening the other party, including measures designed to protect
               the safety of all parties or the University’s educational environment, or deter
               sexual harassment. Supportive measures may include counseling, extensions of
               deadlines or other course-related adjustments, modifications of work or class
               schedules, campus escort services, mutual restrictions on contact between the
               parties, changes in work or housing locations, leaves of absence, increased
               security and monitoring of certain areas of the campus, and other similar
               measures. The University must maintain as confidential any supportive measures
               provided to the complainant or respondent, to the extent that maintaining such
               confidentiality would not impair the ability of the University to provide the
               supportive measures. The Title IX Coordinator is responsible for coordinating the
               effective implementation of supportive measures.




                                         Exhibit A - 6
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.151 Page 32 of 57



                                                                                         Policy # 5.60
                          SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                             Policies and Procedures                         Date Amended: 08/07/20
                                                                            Reviewed w/ No Changes:
                                                                     Office of Responsibility: Title IX
                                                                                          Page 7 of 32


    SUBJECT:     SEXUAL MISCONDUCT


          R.     Title IX Coordinator: The University must designate and authorize at least one
                 employee to coordinate its efforts to comply with its responsibilities under Title
                 34 of the Code of Federal Regulations, part 106, which employee must be referred
                 to as the “Title IX Coordinator.”

          S.     University community members: All persons employed by or affiliated with the
                 University in any way and persons participating in any University program or
                 activity, including but not limited to trustees, advisory board members,
                 administrators, faculty, staff, students, independent contractors, volunteers, and
                 guests or visitors to any University campus or any property owned or leased by
                 the University.

     V.   PROHIBITED CONDUCT

          Sex Discrimination, Sexual Harassment, and Retaliation Prohibited.

          The University does not discriminate on the basis of sex in the education program or
          activity that it operates, as required by Title IX and 34 CFR part 106. The requirement
          not to discriminate in education programs or activities extends to admission and
          employment. Inquiries about the application of Title IX and its regulations to University
          programs or activities may be referred to the Title IX Coordinator.

          The University prohibits sex discrimination, sexual harassment, and retaliation as defined
          in this policy. Violations of this policy include but are not limited to acts or attempts of
          dating and relationship violence; domestic violence; discrimination based on sex,
          pregnancy, pregnancy-related conditions, sexual orientation, gender identity, or gender
          expression; hostile environment based on sex, pregnancy, pregnancy-related conditions,
          sexual orientation, gender identity, or gender expression (including intimidation and
          hazing/bullying); sexual harassment; sexual assault (including nonconsensual sexual
          contact or nonconsensual sexual intercourse); sexual exploitation (including engaging in
          sexual trafficking); and stalking.

          A.     Consent: All participants in the sexual activity are responsible for ensuring that
                 they have the consent of all involved to engage in sexual activity. Any individual
                 who engages in sexual activity without receiving clear, knowing, and voluntary
                 consent, or in which one of the parties withdraws consent at any point but is
                 forced to participate, has violated this policy. Sexual activity with someone




                                           Exhibit A - 7
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.152 Page 33 of 57



                                                                                        Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                            Date Approved: 03/24/17
                           Policies and Procedures                          Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                         Page 8 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               deemed unable to grant clear, knowing, and voluntary consent constitutes a
               violation of this policy. This includes, but is not limited to, individuals who are:

               1.     Mentally and/or physically incapacitated for any reason (such as by mental
                      or physical disability; lack of sleep; alcohol; illegal, date-rape, or
                      prescription drug use; unconsciousness; blackout; or involuntary physical
                      restraint);

               2.     Under the age of 18; or

               3.     Forced to give consent in any way, including but not limited to by
                      coercion,

               4.     intimidation, duress, deception, threats, implied threats, and/or physical
                      force.

               5.     Consent to any one form of sexual activity does not automatically imply
                      consent to any other forms of sexual activity. Past consent to sexual
                      activity does not imply ongoing future consent. The current or past
                      existence of a relationship does not imply consent. Whether an individual
                      has taken advantage of a position of authority over an alleged victim may
                      be a factor in determining consent or coercion.

         B.    Sexual Conduct with Subordinate Employees or Students: Employees shall
               not engage in sexual conduct with subordinate students or employees unless there
               has been proper disclosure and potential for abuse of power has been removed.
               Subordinate students and employees cannot consent, as defined in this policy, to
               sexual conduct amid the potential for abuse of power. The purpose of this
               restriction is to prohibit the abuse of power by employees and the exploitation of
               subordinate students or employees.

               1.     Subordinate students are University students or applicants whose
                      educational opportunities could be adversely impacted by employees.

               2.     For purposes of this section, sexual conduct is any sexual relationship or
                      sharing any sexually explicit or lewd communication, image, or
                      photograph. Sharing sexually explicit or lewd communication, image, or
                      photograph does not include any communication, image, or photograph
                      that faculty shares with students as part of a legitimate academic exercise,




                                         Exhibit A - 8
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.153 Page 34 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                       Page 9 of 32


    SUBJECT:   SEXUAL MISCONDUCT


                      such as pedagogical requirements for specific classes such as health,
                      science, art, behavioral science, etc.

               3.     For purposes of this section, educational opportunities include admission,
                      receipt of financial aid, assessment of academic performance, or
                      placement in academic opportunities such as internships, assistantships,
                      and graduation.

               4.     All employees engaging or intending to engage in sexual conduct with a
                      subordinate student or employee shall immediately disclose the
                      relationship to their direct supervisors and the Title IX Coordinator, or be
                      subject to disciplinary action, up to and including termination. Supervisors
                      who receive such reports or who otherwise become aware of such
                      relationships shall promptly report the relationship to the Title IX
                      Coordinator, who shall work with the relevant parties to remove the
                      subordinate relationship to ensure compliance with Utah Code §
                      63G-7-301 and this policy. If the subordinate relationship cannot be
                      removed or otherwise appropriately managed, the employee shall be
                      subject to discipline, up to and including termination.

         C.    Retaliation Prohibited: Neither the University nor any member of the University
               community may intimidate, threaten, coerce, or discriminate against any
               individual for the purpose of interfering with any right or privilege secured by
               Title IX or this policy, or because the individual has made a report or complaint,
               testified, assisted, or participated or refused to participate in any manner in an
               investigation, proceeding, or hearing under this policy.

               1.     Intimidation, threats, coercion, or discrimination, including charges
                      against an individual for policy violations that do not involve sex
                      discrimination or sexual harassment, but arise out of the same facts or
                      circumstances as a report or complaint of sex discrimination, or a report or
                      formal complaint of sexual harassment, for the purpose of interfering with
                      any right or privilege secured by Title IX or this part, constitutes
                      retaliation.

               2.     Any retaliatory threat or act of violence against victims or witnesses of
                      sexual violence, moreover, is a third-degree felony under Utah Code §
                      53B-28-304 and may be subject to criminal prosecution.




                                       Exhibit A - 9
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.154 Page 35 of 57



                                                                                        Policy # 5.60
                         SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                            Policies and Procedures                         Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                       Page 10 of 32


    SUBJECT:    SEXUAL MISCONDUCT


                3.      Complaints alleging retaliation may be filed according to the grievance
                        procedures for sex discrimination under this policy.

         D.     Nothing in this policy shall be interpreted as diminishing any party’s rights
                protected under the United States Constitution or employee rights under Title VII
                of the Civil Rights Act of 1964 to be free from discrimination on the basis of race,
                color, religion, sex, and national origin.

 VI.     NOTIFICATION

         The University must notify applicants for admission or employment, students,
         employees, of:

         A.     The name or title, office address, electronic mail address, and telephone number
                of the employee designated as the Title IX Coordinator.

         B.     The nondiscrimination policy statement contained in Section IV of this policy, the
                University’s grievance procedures and grievance process, including how to report
                or file a complaint of sex discrimination, how to report or file a formal complaint
                of sexual harassment, and how the University will respond.

         C.     The University must prominently display the contact information and policy
                statement described in V(a) on its website and in each handbook or catalog that it
                makes available to applicants for admission and employment, students,
                employees, or all unions or professional organizations holding collective
                bargaining or professional agreements with the University.

 VII.    REPORTING

         Any person may report sex discrimination, including sexual harassment (whether or not
         the person reporting is the person alleged to be the victim of conduct that could constitute
         sex discrimination or sexual harassment), to the Title IX Coordinator using any of the
         following methods:

               ●       in person at 351 W. University Boulevard, Bennion Building, Suite 111,
                       Cedar City, UT 84720 (8:00a.m. – 5:00pm business hours only)
               ●       by mail at 351 W. University Boulevard, Cedar City, UT 84720 (anytime);
               ●       by telephone at 435-586-5419 (anytime);




                                         Exhibit A - 10
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.155 Page 36 of 57



                                                                                     Policy # 5.60
                       SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                          Policies and Procedures                        Date Amended: 08/07/20
                                                                        Reviewed w/ No Changes:
                                                                 Office of Responsibility: Title IX
                                                                                    Page 11 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               ●     by electronic mail: Title9@suu.edu (anytime); or
               ●     by any other means that results in the Title IX Coordinator receiving the
                     person’s oral or written report.
         A.    Who Must Report: The following employees are officials with authority to
               institute corrective measures who must report sexual harassment or other sex
               discrimination to the Title IX Coordinator:

               1.     The president and all employees reporting directly to the president;

               2.     All supervisors, when reports concern their direct or indirect subordinates
                      as potential complainants or respondents;

               3.     The Vice President of Student Affairs, all employees reporting directly to
                      the Vice President of Student Affairs, and all college deans when reports
                      concern students as potential complainants or respondents.

               4.     Consistent with Utah Code section 62A-4a-403, anyone who reasonably
                      suspects any incident of sexual harassment or abuse involving a minor
                      shall immediately report to campus police or the local police department.
                      Employees who become aware of allegations involving a minor shall
                      notify the Title IX Coordinator and their supervisor that they have reported
                      the allegation to the police.

         B.    Who May Report: All other faculty, staff, and students who become aware of sex
               discrimination or harassment are encouraged to report such issues, with the
               consent of the alleged victim, to the Title IX Coordinator.

         C.    Who May Not Report: Licensed mental health counselors and medical
               professionals working within the scope of their license, or designated advocates
               authorized by the Title IX Coordinator, generally may not report incidents of
               sexual harassment except with written consent or in instances of imminent danger
               or when the victim is a minor or vulnerable adult.

VIII.    CONFIDENTIALITY




                                      Exhibit A - 11
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.156 Page 37 of 57



                                                                                         Policy # 5.60
                          SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                             Policies and Procedures                         Date Amended: 08/07/20
                                                                            Reviewed w/ No Changes:
                                                                     Office of Responsibility: Title IX
                                                                                        Page 12 of 32


    SUBJECT:    SEXUAL MISCONDUCT


         The University must maintain as confidential any supportive measures provided to the
         complainant or respondent, to the extent that maintaining such confidentiality would not
         impair the University’s ability to provide the supportive measures.

         The University must keep confidential the identity of any individual who has made a
         report or complaint of sex discrimination, including any individual who has made a report
         or filed a formal complaint of sexual harassment, any complainant, any individual who
         has been reported to be the perpetrator of sex discrimination, any respondent, and any
         witness, except as may be permitted by the federal Family Educational Rights and
         Privacy Act, its regulations, or as required by Utah Government Records and
         Management Act (GRAMA), the federal Health Information Portability and
         Accountability Act (HIPAA) or other law, or to carry out the purposes of Title IX,
         including the conduct of any investigation, hearing, or judicial proceeding arising under
         Title IX.

         The University will protect confidential communications to designated University
         advocates authorized by the Title IX Coordinator, protected under the Utah Campus
         Advocate Confidentiality Amendments (Utah Code § 53B-28-101 et seq.), where
         disclosure is not required by applicable federal law, including Title IX, Title VII, or the
         Clery Act, or consented in writing.

 IX.     TRAINING

         The University shall train Title IX Coordinators, investigators, decision-makers, and any
         person who facilitates an informal resolution process on the definition of sexual
         harassment, the scope of the University’s education program or activity, how to conduct
         an investigation and grievance process including live hearings, appeals, informal
         resolution processes, and how to serve impartially, including by avoiding prejudgment of
         the facts at issue, conflicts of interest, and bias.

         A.     Training materials must not rely on sex stereotypes and must promote impartial
                investigations and adjudications of formal complaints of sexual harassment.

         B.     The University will train decision-makers how to determine issues of relevance of
                questions and evidence, including when questions and evidence about the
                complainant’s sexual predisposition or prior sexual behavior are not relevant, on
                evidentiary standards, and on live hearing procedures.




                                         Exhibit A - 12
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.157 Page 38 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                     Page 13 of 32


    SUBJECT:   SEXUAL MISCONDUCT


         C.    The University also must ensure that investigators receive training on issues of
               relevance to create an investigative report that fairly summarizes relevant
               evidence.

         D.    The University will provide training to the Title IX Coordinator(s), hearing
               officer(s), and other necessary parties on all technology to be used in Live
               Hearings.

         E.    All materials used to train Title IX Coordinators, investigators, decision-makers,
               and any person who facilitates an informal resolution process must be made
               publicly available on the University’s website.

  X.     RECORDKEEPING

         A.    The Title IX Office must maintain the following records for a period of seven
               years:

               1.     Each sexual harassment investigation including any determination
                      regarding responsibility and any audio or audiovisual recording or
                      transcript required by this policy, any disciplinary sanctions imposed on
                      the respondent, and any remedies provided to the complainant designed to
                      restore or preserve equal access to the University’s education program or
                      activity;

               2.     Any appeal and the result;

               3.     Any informal resolution and the result; and

               4.     All materials used to train Title IX Coordinators, investigators,
                      decision-makers, and any person who facilitates an informal resolution
                      process.

         B.    For each report to the Title IX Coordinator of sexual harassment in a University
               education program or activity against a person in the United States, the Title IX
               Office must create, and maintain for a period of seven years, records of any
               actions, including any supportive measures, taken in response to a report or
               formal complaint of sexual harassment. In each instance, the Title IX Office must
               document the basis for its conclusion that its response was not deliberately
               indifferent, and document that it has taken measures designed to restore or




                                       Exhibit A - 13
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.158 Page 39 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                     Page 14 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               preserve equal access to the University’s education program or activity. If the
               University does not provide a complainant with supportive measures, then the
               Title IX Office must document the reasons why such a response was not clearly
               unreasonable in light of the known circumstances. The documentation of certain
               bases or measures does not limit the University in the future from providing
               additional explanations or detailing additional measures taken.

 XI.     PRELIMINARY REVIEW OF REPORTS AND FORMAL COMPLAINTS

         A.    Scope and Applicability of These Procedures: All reports and formal
               complaints of sex discrimination, sexual harassment and retaliation, as defined in
               this policy, are subject to the procedures set forth in this section.

         B.    Preliminary Review of Reports of Sexual Harassment:

               General Response: Upon receiving a report of sexual harassment, the Title IX
               Coordinator shall promptly contact the complainant to (1) discuss the availability
               of supportive measures, (2) consider the complainant’s wishes with respect to
               supportive measures, (3) inform the complainant of the availability of supportive
               measures with or without the filing of a formal complaint, and (4) explain the
               process for filing a formal complaint.

               Emergency Removal: The University may remove a respondent from the
               University’s education programs or activities on an emergency basis, provided
               that the appropriate officials undertake an individualized safety and risk analysis,
               determines that an immediate threat to the physical health or safety of any student,
               employee, or other individual arising from the allegations of sexual harassment
               justifies removal, and provides the respondent with notice and an opportunity to
               challenge the decision immediately following the removal.

               1.     Non-student Employee Leave: A non-student employee respondent may
                      be placed on administrative leave in accordance.

               The Title IX Coordinator must further assess the reported conduct for any Clery
               obligations, including issuance of a timely warning, and report to campus or local
               law enforcement when necessary.

         C.    Grievance Process General Principles:




                                       Exhibit A - 14
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.159 Page 40 of 57



                                                                                    Policy # 5.60
                     SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                        Policies and Procedures                         Date Amended: 08/07/20
                                                                       Reviewed w/ No Changes:
                                                                Office of Responsibility: Title IX
                                                                                   Page 15 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               1.   Complainants, respondents, and witnesses shall be treated equitably and
                    with respect throughout the grievance proceedings.

                    a.     The University will evaluate all relevant evidence—both
                           inculpatory and exculpatory—objectively and determine credibility
                           without respect to a person’s status as complainant, respondent, or
                           witness.

               2.   Deadlines and timeframes provided in this policy may extended for good
                    cause with written notice to the parties and the reasons for the extension.
                    Good cause may include considerations such as the absence of a party, a
                    party’s advisor, or witness; concurrent law enforcement activity; or the
                    need for language assistance or accommodation of disabilities.

                    a.     Parties may submit a request for a temporary delay to the Title IX
                           coordinator. Any request for temporary delay or limited extension
                           should include a good cause statement and the reason(s) for the
                           request. If no good cause exists, Title IX Coordinator will deny the
                           requesting party’s request in writing.

               3.   Any person designated as a Title IX Coordinator, investigator, or decision
                    maker shall be free of conflict of interest or bias for or against
                    Complainants or Respondents generally or individually.

               4.   Respondents, complainants, and witnesses shall not knowingly make
                    materially false statements or knowingly submit materially false
                    information during the grievance process. However, a determination
                    regarding responsibility alone is not sufficient to conclude that any
                    individual proffered a material falsehood.

               5.   Complainants and respondents shall have supportive measures made
                    available and be given the opportunity to request modifications necessary
                    for physical and/or emotional safety.

                    a.     Complainants, respondents, and other participants in the Title IX
                           process may request accommodations necessary under the
                           Americans with Disabilities Act (ADA) through the Title IX




                                    Exhibit A - 15
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.160 Page 41 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                     Page 16 of 32


    SUBJECT:   SEXUAL MISCONDUCT


                              Coordinator, who will refer the request to the appropriate ADA
                              coordinator and then implement approved accommodations.

         D.    Formal Complaint: A formal complaint is a document filed by a complainant or
               signed by the Title IX Coordinator alleging sex discrimination, sexual harassment,
               or retaliation. A formal complaint may be filed by a complainant who is
               participating in or attempting to participate in an education program or activity of
               the University at the time of filing the formal complaint.

               1.     A formal complaint shall be filed with the Title IX Coordinator in person,
                      by mail, or by electronic mail, by using the contact information posted for
                      the Title IX Coordinator in section VI above.

               2.     The formal complaint shall contain written notice of the allegations of sex
                      discrimination, sexual harassment, or retaliation, including a concise
                      statement describing the incident, when and where the misconduct
                      occurred, why the complainant believes it violates University policy, and a
                      proposed resolution. The complainant shall be instructed to provide and
                      preserve all corroborating or potentially relevant evidence in any format,
                      list potential witness names, and sign the statement. From this
                      information, the Title IX Coordinator shall prepare a Notice of
                      Investigation as defined in Section XII(B).

               3.     By filing a formal complaint, the complainant is giving consent for the
                      Title IX Coordinator, designated deputy coordinators, and/or investigators
                      to discuss the information provided with other persons who may have
                      relevant factual knowledge of the circumstances of the complaint, and is
                      authorizing the collection and examination of all records and other
                      documentation relevant to the complaint.

               4.     The Title IX Coordinator may independently initiate a formal complaint
                      and investigation if necessary to provide safe and nondiscriminatory
                      educational programs and activities, unless doing so would be clearly
                      unreasonable in light of the known circumstances, The Title IX
                      Coordinator may consider a variety of factors, including a pattern of
                      alleged misconduct by a particular respondent, in deciding whether to sign
                      a formal complaint. When the Title IX Coordinator signs a formal
                      complaint, the Title IX Coordinator is not a Complainant or otherwise a




                                       Exhibit A - 16
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.161 Page 42 of 57



                                                                                       Policy # 5.60
                          SOUTHERN UTAH UNIVERSITY                         Date Approved: 03/24/17
                             Policies and Procedures                       Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                      Page 17 of 32


    SUBJECT:   SEXUAL MISCONDUCT


                      party under this policy and must remain free of bias or conflict of interest
                      with respect to any party. In this situation, the complainant is treated as a
                      party, though their right to not participate is protected.

         E.    Consolidation of Formal Complaints: The University may consolidate formal
               complaints against more than one respondent, or by more than one complainant
               against one or more respondents, or by one party against the other party, where
               the allegations of sexual harassment arise out of the same facts or circumstances.

         F.    Dismissal of the Formal Complaint: The University must investigate all
               allegations in a formal complaint unless the conduct alleged in the formal
               complaint:

                      ●       Would not constitute sexual harassment as defined in this policy
                              even if proved;
                      ●       Did not occur in the University’s education programs or activities;
                              or
                      ●       Did not occur against a person in the United States.
               1.     If the conduct falls within the criteria outlined above, the University must
                      dismiss the formal complaint with regard to that conduct for the purposes
                      of Title IX; such dismissal does not preclude investigation or action under
                      another provision of the University code of conduct or policy.

               2.     The University may dismiss the formal complaint or any allegations
                      therein, if at any time during the investigation or hearing:

                      a.      A Complainant notifies the Title IX Coordinator in writing that the
                              Complainant wants to withdraw the formal complaint or any
                              allegations therein;

                      b.      The Respondent is no longer enrolled or employed by the
                              University; or

                      c.      Specific circumstances prevent the University from gathering
                              evidence sufficient to reach a determination as to the formal
                              complaint.




                                       Exhibit A - 17
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.162 Page 43 of 57



                                                                                        Policy # 5.60
                         SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                            Policies and Procedures                         Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                       Page 18 of 32


    SUBJECT:    SEXUAL MISCONDUCT


                3.      Upon a required or permitted dismissal of the formal complaint, the Title
                        IX Coordinator shall promptly send written notice of the dismissal and the
                        reason(s) therefor simultaneously to the parties.

                4.      Any party may appeal the dismissal of a formal complaint in accordance
                        with section XIX of this policy.

 XII.    INFORMAL RESOLUTION

         The University may offer an informal resolution process only after a formal complaint is
         filed. Informal resolution may include a limited inquiry into the facts, but typically does
         not include an investigation. Informal resolution should be flexible enough to meet the
         needs of each case, and may include mediating an agreement between the parties,
         separating the parties, referring the parties to counseling programs, conducting targeted
         preventive educational and training programs, or providing remedies for the individual
         harmed by the offense.

         Participation in the informal resolution process is voluntary; the University may not
         require either party to engage in informal resolution as a condition of enrollment or
         employment or enjoyment of any other right, waiver of the right to investigation and
         adjudication of formal complaints of sexual harassment.

         A.     The University is not obligated to offer or facilitate informal resolutions. Because
                each case is different, the Title IX Coordinator shall determine whether a formal
                complaint of sexual harassment, discrimination, or retaliation is appropriate for
                informal resolution.

         B.     At any time before reaching a determination regarding responsibility the Title IX
                Office may facilitate an informal resolution process, such as mediation, that does
                not involve a full investigation and adjudication, provided that the Title IX Office:

                1.      Provides to the parties a written notice disclosing: the allegations, the
                        requirements the informal resolution process including the circumstances
                        under which it precludes the parties from resuming a formal complaint
                        arising from the same allegations, provided, however, that at any time
                        prior to agreeing to a resolution, any party has the right to withdraw from
                        the informal resolution process and resume the grievance process with
                        respect to the formal complaint, and any consequences resulting from




                                         Exhibit A - 18
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.163 Page 44 of 57



                                                                                        Policy # 5.60
                         SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                            Policies and Procedures                         Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                       Page 19 of 32


    SUBJECT:    SEXUAL MISCONDUCT


                        participating in the informal resolution process, including the records that
                        will be maintained or could be shared;

                2.      Obtains the parties’ voluntary, written consent to the informal resolution
                        process; and

                3.      Does not offer or facilitate an informal resolution process to resolve
                        allegations that an employee sexually harassed a student.

                4.      The University endeavors to conclude informal resolution promptly and
                        shall keep a written record of all informal resolution efforts in accordance
                        with section IX of this policy.

         C.     After concluding informal resolution of a complaint, the Title IX Coordinator
                shall notify the complainant and respondent of the resolution that was agreed
                upon.

XIII.    FORMAL INVESTIGATIONS

         If a Complainant files a formal complaint or the Title IX Coordinator signs a formal
         complaint, the University shall conduct a thorough, impartial investigation by
         interviewing witnesses, collecting documentary evidence, and preparing a written report
         of findings. The purpose of the investigation is to establish whether there is a reasonable
         basis, based on a preponderance of the evidence, to conclude the Respondent violated this
         policy. The University reserves the right to engage an outside investigator to conduct the
         investigation. Investigations under this policy shall incorporate the following standards:

         A.     The burden of proof and the burden of gathering evidence sufficient to reach a
                determination rests on the University and not on the parties.

                1.      The University shall not access, consider, disclose, or otherwise use a
                        party’s records that are made or maintained by a physician, psychiatrist,
                        psychologist, or other recognized professional or paraprofessional acting
                        in the professional’s or paraprofessional’s capacity, or assisting in that
                        capacity, and which are made and maintained in connection with the
                        provision of treatment to the party, unless the University obtains the
                        party’s voluntary, written consent to do so for a grievance process under
                        this policy.




                                        Exhibit A - 19
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.164 Page 45 of 57



                                                                                    Policy # 5.60
                     SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                        Policies and Procedures                         Date Amended: 08/07/20
                                                                       Reviewed w/ No Changes:
                                                                Office of Responsibility: Title IX
                                                                                   Page 20 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               2.   The University shall presume the Respondent is not responsible for the
                    alleged conduct until a determination regarding responsibility is made at
                    the conclusion of the grievance process.

               3.   The University will not restrict the ability of either party to discuss the
                    allegations under investigation or to gather and present relevant evidence.
                    This section notwithstanding,

                    a.     Retaliation is prohibited. Attempts to alter or prevent a witness’s or
                           party’s testimony are forms of prohibited retaliation.

                    b.     Parties may be directed to cease communications with one another
                           (i.e., a “no contact order”).

                    c.     Parties’ communications remain subject to state laws protecting
                           against defamation and tortious invasions of privacy, such as
                           intrusion upon seclusion, publication of private facts, and false
                           light claims.

               4.   The University shall provide an equal opportunity for the parties to present
                    witnesses, including fact and expert witnesses, and other inculpatory and
                    exculpatory evidence.

               5.   Investigators or others shall not question the complainant, or otherwise
                    seek evidence, regarding the Complainant’s sexual predisposition or prior
                    sexual conduct with anyone other than the respondent(s).

               6.   Parties may choose to be accompanied by an advisor of their choice, who
                    may be, but is not required to be, an attorney, to any related meeting or
                    proceeding. The advisor may not disrupt the meetings or other
                    proceedings or speak on behalf of the party. Generally, the advisor is
                    limited to listening and quietly conferring with the party. If an advisor is
                    disruptive even after warning, the investigator may exclude them from
                    meetings.

               7.   At any time before or during the investigation, the investigator may
                    recommend that the University provide support measures for the parties or
                    witnesses. Any individual’s intentional interference with support




                                    Exhibit A - 20
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.165 Page 46 of 57



                                                                                       Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                           Policies and Procedures                         Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                      Page 21 of 32


    SUBJECT:   SEXUAL MISCONDUCT


                      measures may be considered retaliatory and a separate violation of this
                      policy.

               8.     If either party fails to participate in the investigation, the investigator(s)
                      may make findings without the response of that party, potentially leading
                      to an unfavorable outcome for that party, or the Title IX Coordinator may
                      dismiss the case according to section X(F) of this policy.

               9.     The University will provide to a party whose participation is expected or
                      invited, written notice of the date, time, location, participants, and purpose
                      of all hearings, investigative interviews, or other meetings, with sufficient
                      time for the party to prepare to participate.

               10.    The University will provide each parties with equal opportunity to inspect
                      and review any evidence obtained as part of the investigation that is
                      directly related to the allegations raised in the formal complaint, including
                      all inculpatory or exculpatory evidence, whether relied upon or not in
                      reaching findings, so that each party can meaningfully respond to the
                      evidence prior to the conclusion of the investigation.

               The Title IX Coordinator shall choose the investigator(s), except in cases where
               the Title IX Coordinator or others involved in the investigation have a conflict of
               interest, in which case the University’s Office of General Counsel shall select
               internal or external impartial investigator(s).

         B.    Upon initiating an investigation, the University shall provide the parties with a
               copy of the formal complaint, a notice of investigation, and a copy of this policy.
               A notice of investigation shall include statements informing the parties that the
               Respondent is presumed not responsible for the alleged conduct and that a
               determination of responsibility is made at the conclusion of the grievance process;
               that the parties may have an advisor of their choice, who may be, but is not
               required to be, an attorney, and who may inspect and review evidence; and inform
               the parties of any provision in the University’s code of conduct that prohibits
               knowingly making false statements or knowingly submitting false information
               during a grievance process.




                                       Exhibit A - 21
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.166 Page 47 of 57



                                                                                       Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                           Policies and Procedures                         Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                      Page 22 of 32


    SUBJECT:   SEXUAL MISCONDUCT


         C.    If, at any point during the investigation, the University determines a need to
               investigate allegations not included in the formal complaint, the University must
               provide notice of the additional allegations to the parties, if known.

         D.    Upon conclusion of the investigative fact-finding, the investigator(s) shall prepare
               a draft report that summarizes the Complainant’s allegations and Respondent’s
               responses, summarizes the relevant evidence and the material witnesses
               supporting or opposing the allegation(s), and includes preliminary findings.

         E.    Before the report is finalized, investigators will give Complainant and Respondent
               and their advisors equal opportunity to review any evidence obtained as part of
               the investigation that is directly related to the allegations in the formal complaint,
               including evidence upon which the University does not intend to rely in reaching
               a determination of responsibility, whether inculpatory or exculpatory, in electronic
               or hard copy format.

         F.    The parties may submit a written response or information to the investigator
               within ten business days of the date of the notice of the opportunity to review the
               draft report and evidence. This is the parties’ final opportunity to submit any
               additional information or witnesses. In the absence of good cause, investigators
               shall not consider information discoverable through the exercise of due diligence
               that is not provided to the investigator(s) at this juncture.

               1.     Investigator(s) shall consider any written response, information, or
                      evidence provided by the parties.

         G.    The investigator(s) shall prepare a final investigation report that contains a
               statement of the allegations, the positions/responses of the parties, a summary of
               relevant evidence and material witnesses the investigator(s) relied on, and any
               findings of fact.

               1.     A recommended decision of “unfounded” indicates that the investigator
                      believes either that there is insufficient evidence to conclude that the
                      event(s) occurred as alleged, or even if the event(s) occurred, it/they did
                      not constitute sexual harassment or retaliation.




                                       Exhibit A - 22
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.167 Page 48 of 57



                                                                                         Policy # 5.60
                          SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                             Policies and Procedures                         Date Amended: 08/07/20
                                                                            Reviewed w/ No Changes:
                                                                     Office of Responsibility: Title IX
                                                                                        Page 23 of 32


    SUBJECT:    SEXUAL MISCONDUCT


                2.      A recommended decision of “inconclusive” means that the investigator
                        believes the evidence provided by both parties did not reach a
                        preponderance of evidence in favor of either party.

                3.      A recommended decision of “substantiated” means that the investigator
                        believes the events occurred as alleged by a preponderance of evidence in
                        favor of the complainant.

         H.     The Title IX Coordinator, designee, or an attorney assigned by the Office of the
                General Counsel shall review each final investigation report or summary before it
                is finalized to ensure compliance with this policy.

         I.     The final report shall be provided to the parties and their advisors, if any, in an
                electronic or hard copy format, at least ten days prior to any hearing under this
                policy, for their review and written response.

         J.     Nothing in this procedure shall be interpreted to alter the status of otherwise
                at-will employees.

XIV.     LIVE HEARINGS

         Upon receipt of the Final Investigation Report, the Title IX Coordinator will have ten
         business days to appoint a Hearing Officer or Hearing Panel.

         Upon appointing a Hearing Officer or Hearing Panel (“hearing officer”), the Title IX
         Coordinator will issue to the parties and the parties’ advisors, in either an electronic or
         hard copy format, a Notice of Hearing containing dates, deadlines, and/or requirements
         appropriate for the orderly administration of the live hearing as determined by the hearing
         officer or panel assigned to the live hearing under this policy.

         The Notice of Hearing will contain a statement informing the parties that the University
         must, upon either party’s request, provide for a live hearing where the parties are located
         in separate rooms with technology enabling the Hearing Officer and the parties to
         simultaneously see and hear the party or witnesses answering questions.

 XV.     REQUIRED DISCLOSURES

         As outlined in Section XII(I), the parties and the parties’ advisors received in either an
         electronic or hardcopy format a copy of the Final Investigation Report and all evidence,




                                         Exhibit A - 23
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.168 Page 49 of 57



                                                                                       Policy # 5.60
                         SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                            Policies and Procedures                        Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                      Page 24 of 32


    SUBJECT:    SEXUAL MISCONDUCT


         exculpatory or inculpatory—whether or not the evidence was relied upon to reach the
         findings in the Final Investigation Report—related to the allegations in the Formal
         Complaint.

         A.     Disclosure of expert testimony. A party shall disclose the identity of any person
                who may be used at hearing to present expert opinion evidence to the University
                and other parties no later than five business days prior to the date of the Live
                Hearing.

                1.     Unless otherwise stipulated, this disclosure shall be accompanied by a
                       written report prepared and signed by the witness or party. The report shall
                       contain the subject matter on which the expert is expected to testify; the
                       substance of the facts and opinions to which the expert is expected to
                       testify; a summary of the grounds for each opinion; and the expert’s
                       qualifications of the witness.

                2.     A party seeking to present the testimony of an expert witness at the Live
                       Hearing shall certify that the individual providing the expert testimony is
                       qualified to offer the opinions.

                3.     The Hearing Officer may exclude expert testimony that is not relevant.

                At least seven calendar days before the hearing date, the University, Complainant,
                and Respondent must provide each other a list of witnesses and documents that
                they will be presenting to the hearing officer.

         B.     Parties may be accompanied to the Live Hearing by the advisor, who may be, but
                is not required to be, an attorney.

                1.     The University will not limit the choice or presence of a party’s advisor,
                       but the Hearing Officer may limit an advisor’s participation if the advisor
                       becomes unreasonably disruptive to the proceedings.

                2.     If an attorney appears on behalf of a party, notice served on the attorney is
                       considered notice to the party.




                                       Exhibit A - 24
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.169 Page 50 of 57



                                                                                             Policy # 5.60
                             SOUTHERN UTAH UNIVERSITY                            Date Approved: 03/24/17
                                Policies and Procedures                          Date Amended: 08/07/20
                                                                                Reviewed w/ No Changes:
                                                                         Office of Responsibility: Title IX
                                                                                            Page 25 of 32


       SUBJECT:    SEXUAL MISCONDUCT


                   3.      Advisors may participate in the Live Hearing through asking the other
                           party and any witnesses all relevant questions and follow-up questions,
                           including those challenging credibility.

                   4.      Cross-examination at the live hearing must be conducted directly, orally,
                           and in real time by a party’s advisor and never by a party personally.

                   5.      If a party does not have an advisor present at the live hearing, the
                           University must provide without fee or charge to that party, an advisor of
                           the University’s choice, who may be, but is not required to be, an attorney,
                           to conduct cross-examination on behalf of that party.

                   6.      The University is not a party to the Live Hearing, but it shall be the
                           University, not the parties, that bears the burden of producing evidence
                           through the investigative report to the Hearing Officer.

                   7.      The University must remain objective and impartial throughout the
                           grievance process, including impartially presenting the investigative report
                           to the Hearing Officer for determination.

                   8.      The standard of proof for determining responsibility is preponderance of
                           the evidence.

XVI.        HEARING OFFICER RESPONSIBILITIES

            The Hearing Officer cannot be the same person(s) as the Title IX Coordinator or the
            investigator(s).

            The Hearing Officer shall regulate the course of the live hearing to obtain full disclosure
            of relevant facts and to afford all parties reasonable opportunity to present their positions.

            On the Hearing Officer’s or own motion or upon objection by a party’s advisor, the
            Hearing officer:

            A.     May exclude evidence that is irrelevant or unduly repetitious.

            B.     Shall exclude irrelevant questions directed to a party or witness. Before a party or
                   witness answers a cross-examination or other question, the Hearing Officer must




                                            Exhibit A - 25
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.170 Page 51 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                     Page 26 of 32


    SUBJECT:   SEXUAL MISCONDUCT


               first determine whether the question is relevant and explain any decision to
               exclude a question as not relevant.

         C.    Shall exclude evidence privileged in the courts of Utah, unless the privilege at
               issues is specifically waived by the parties.

         D.    Shall exclude questions or evidence about the Complainant(s)’ sexual
               predisposition or prior sexual behavior as not relevant unless 1) questions or
               evidence of the Complainant(s)’ prior sexual behavior are offered to prove that
               someone other than Respondent(s) committed the conduct alleged by
               Complainant(s), or 2) questions or evidence concern specific incidents of the
               Complainant(s)’ prior sexual behavior with respect to Respondent(s) and are
               offered to prove consent.

         E.    May receive documentary evidence in the form of a copy or excerpt if the copy or
               excerpt contains all pertinent portions of the original document.

         F.    The Hearing Officer may not exclude evidence solely because it is hearsay.

         G.    The Hearing Officer shall afford the parties’ advisors the opportunity to conduct
               cross examination.

               1.     If a party or witness does not submit to cross-examination at the Live
                      Hearing, the Hearing Officer must not rely on any statement of that party
                      or witness in reaching a determination regarding responsibility and cannot
                      draw an inference about the determination regarding responsibility based
                      solely on a party’s or witness’s absence for the Live Hearing or refusal to
                      answer cross-examination or other questions.

         H.    The University shall record the hearing and provide a copy or transcript of the
               hearing to the parties for inspection and review.

         I.    The hearing shall be conducted with all parties physically present in the same
               geographical location or, upon request by either party or the Hearing Officer, any
               or all parties, witnesses, and other participants may appear at the Live Hearing
               virtually, with technology enabling participants simultaneously to see and hear
               each other.




                                       Exhibit A - 26
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.171 Page 52 of 57



                                                                                            Policy # 5.60
                             SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                                Policies and Procedures                         Date Amended: 08/07/20
                                                                               Reviewed w/ No Changes:
                                                                        Office of Responsibility: Title IX
                                                                                           Page 27 of 32


        SUBJECT:    SEXUAL MISCONDUCT


                    1.     Nothing in this section precludes the Hearing Officer from taking
                           appropriate measures necessary to preserve the integrity of the hearing.

                    2.     After the close of the Live Hearing, the Hearing Officer or Hearing Panel
                           will issue a Written Determination regarding responsibility.

XVII.        WRITTEN DETERMINATION

             The Hearing Officer will provide the Written Determination to the Title IX Coordinator
             within 20 calendar days after the Live Hearing concludes.

             A.     The written determination must include:

                    1.     Identification of the allegations potentially constituting sexual harassment
                           as defined in this policy.

                    2.     A description of the procedural steps taken from the receipt of the Formal
                           Complaint through the determination including any notifications to the
                           parties, interviews with the parties and witnesses, site visits, methods used
                           to gather other evidence, and hearings held.

                    3.     Findings of fact supporting the determination.

                    4.     Conclusions regarding the application of the University policy to the facts.

                    5.     A statement of, and rationale for, the result as to each allegation, including
                           a determination regarding responsibility, and recommended disciplinary
                           sanctions for the University to impose on the Respondent, and a
                           recommendation of whether the University will provide remedies designed
                           to restore and preserve equal access to the University’s education program
                           or activity to the Complainant.

                    6.     The University’s procedures and permissible bases for the Complainant
                           and Respondent to appeal.

             B.     The Hearing Officer shall provide the Written Determination to the Title IX
                    Coordinator, the Title IX Coordinator shall then provide the Written
                    Determination to the responsible University official, as outlined in the table
                    below, for a decision regarding Sanctions, per Section XVIII.




                                            Exhibit A - 27
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.172 Page 53 of 57



                                                                                                Policy # 5.60
                              SOUTHERN UTAH UNIVERSITY                              Date Approved: 03/24/17
                                 Policies and Procedures                            Date Amended: 08/07/20
                                                                                   Reviewed w/ No Changes:
                                                                            Office of Responsibility: Title IX
                                                                                               Page 28 of 32


     SUBJECT:        SEXUAL MISCONDUCT


         Respondent’s Affiliation with University            Responsible University Administrator
     Student                                              Dean of Students or designee

     Faculty member                                       Director of Human Resources
                                                          (in consultation with the Provost or
                                                          designee)
     Executive employee or direct report of a vice        Vice president of the relevant department
     president
     Administration or staff member who is not an         Director of Human Resources or designee
     executive employee and does not report
     directly to a vice president

     Vice president or direct report of University        University President
     President
     Contractor, vendor, or visitor                       Vice President of Finance
              C.     The Responsible University Administrator shall have 7 calendar days from the
                     date of receipt of the Written Determination to provide the Title IX Coordinator
                     with the Written Determination and a decision of the disciplinary sanctions the
                     University will impose on the Respondent, and a decision of whether the
                     University will provide remedies designed to restore and preserve equal access to
                     the University’s education program or activity to the Complainant.

              D.     Within 30 days of the Live Hearing, The Title IX Coordinator will provide the
                     Written Determination with the decision of sanctions and remedies to the parties
                     and their advisors simultaneously.

              E.     The determination regarding responsibility and sanctions becomes final either on
                     the date that the recipient provides the parties with the written determination of
                     the result of the appeal, if an appeal is filed, or if an appeal is not filed, the date on
                     which an appeal would no longer be considered timely.

              F.     Nothing in this procedure shall be interpreted to alter the status of otherwise
                     at-will employees.

XVIII.        SANCTIONS AND REMEDIES




                                              Exhibit A - 28
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.173 Page 54 of 57



                                                                                        Policy # 5.60
                         SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                            Policies and Procedures                         Date Amended: 08/07/20
                                                                           Reviewed w/ No Changes:
                                                                    Office of Responsibility: Title IX
                                                                                       Page 29 of 32


    SUBJECT:    SEXUAL MISCONDUCT


         Upon receiving a determination of responsibility either in a Written Determination or as a
         result of an informal resolution, the responsible University administrator shall promptly
         determine the appropriate sanctions and remedies based on the information provided,
         including offering remedies to the complainant and/or University community,
         implementing changes in programs and activities, providing training, and imposing any
         disciplinary sanctions. In consultation with the Title IX Coordinator and the Office of
         General Counsel, (and with Human Resources when the respondent is an employee) the
         responsible University administrator shall ensure any proposed sanctions and remedies
         are appropriate to end the prohibited conduct, to prevent further violation of this policy,
         and remedy the effects of any violation. In determining the appropriate sanction(s), the
         responsible University administrator shall be guided by the following considerations:

                ●       The severity, persistence, or pervasiveness of the misconduct;
                ●       The nature of violence in the misconduct and/or use of weapons, drugs, or
                        alcohol (if applicable);
                ●       The impact of the misconduct on the complainant;
                ●       The impact or implications of the misconduct on the University
                        community;
                ●       Prior misconduct by the respondent, including the respondent’s relevant
                        prior disciplinary history;
                ●       Whether the respondent has accepted responsibility for the misconduct;
                ●       The maintenance of a safe, nondiscriminatory, and respectful working and
                        learning environment; and
                ●       Any other mitigating, aggravating, or compelling factors.
         A.     Respondents who are found to have violated this policy may be subject to the
                following sanctions:

                1.       Faculty/Staff: Possible sanctions against faculty and non-faculty
                        employees for violations of this policy include verbal counseling, written
                        warning, probation, reassignment, transfer, demotion, reduction in pay,
                        suspension, termination of employment, and an order of no trespassing on
                        campus and/or in University programs, services, and activities.

                2.      Students: Possible sanctions against students for violations of this policy
                        include fines, restitution, interim suspension, suspension, suspension




                                        Exhibit A - 29
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.174 Page 55 of 57



                                                                                      Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                          Date Approved: 03/24/17
                           Policies and Procedures                        Date Amended: 08/07/20
                                                                         Reviewed w/ No Changes:
                                                                  Office of Responsibility: Title IX
                                                                                     Page 30 of 32


    SUBJECT:   SEXUAL MISCONDUCT


                      withheld, warning, probation, expulsion, withholding diploma, revocation
                      of certificate or degree, discretionary sanction, organizational sanction,
                      and notation on the student’s transcript consistent with the Family
                      Educational Rights and Privacy Act.

               3.     Vendors/Contractors/Visitors: Possible sanctions against vendors,
                      contractors or visitors to campus who are neither students nor employees
                      of the University include banning the individuals from all or part(s) of the
                      University and/or ending business relationships with the vendors and
                      contractors.

         B.    Amnesty: Any student who makes a good faith report of sexual harassment or
               sexual violence, as defined at Utah Code 53B-28-201, that was directed at them or
               another person will not be sanctioned by the University for a violation related to
               the use of drugs or alcohol that the University discovers because of the report.

         C.    The responsible University administrator shall send any proposed sanctions and
               remedies—subject to a final determination on the alleged violations--in writing to
               the complainant, respondent, Title IX Coordinator, and Hearing Officer. However,
               the responsible University administrator, in consultation with the Title IX
               Coordinator, may choose not to disclose to the complainant the sanctions, and
               shall not disclose to the complainant the discipline imposed on a respondent
               student, except under the following circumstances:

               1.     The discipline directly affects the other party, such as when the respondent
                      student is ordered to stay away from the other party, is transferred to
                      another job site, worksite, class, or is suspended or dismissed from the
                      University; or

               2.     The complainant alleged sexual harassment involving a crime of violence
                      or a non-forcible sex offense; or

               3.     The respondent student gives their written permission to disclose the
                      discipline.

         D.    The University complies with all applicable reporting requirements and reserves
               the right to report findings of criminal misconduct to the police.




                                      Exhibit A - 30
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.175 Page 56 of 57



                                                                                           Policy # 5.60
                            SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                               Policies and Procedures                         Date Amended: 08/07/20
                                                                              Reviewed w/ No Changes:
                                                                       Office of Responsibility: Title IX
                                                                                          Page 31 of 32


       SUBJECT:    SEXUAL MISCONDUCT


XIX.        APPEALS

            Any party may appeal a decision regarding responsibility or from the dismissal of any
            portion of a formal complaint for any of the following reasons:

            A.     A procedural irregularity that affected the outcome of the hearing.

            B.     New evidence that was not reasonably available at the time of the decision or
                   dismissal.

            C.     The Title IX coordinator, the investigators, or the hearing officer had a conflict of
                   interest or bias for or against complainants or respondents generally or the
                   individual complainant or respondent that affected the outcome.

            D.     If the respondent has been determined responsible for sexual harassment, any
                   party may simultaneously appeal the decision regarding sanctions for any the
                   following reasons:

                   1.     The decision-maker has a conflict of interest or bias for or against
                          complainants or respondents generally or the individual complaint or
                          respondent that affected the outcome.

                   2.     The sanction is clearly unreasonable in light of the known circumstances.

            E.     The Title IX coordinator must receive written notice of a party’s intent to appeal
                   within 10 calendar days after receipt of the Written Determination.

            F.     Upon receiving an appeal, the Title IX coordinator must notify the other party
                   within five business days.

            G.     The Title IX coordinator must notify both parties of who will determine the
                   appeal and that person’s contact information within five business days of
                   receiving the appeal.

            H.     The person determining the appeal (“appeal officer”) is the cognizant vice
                   president or their designee. The appeal officer must be free of any bias or conflict
                   of interest with respect to any party.




                                           Exhibit A - 31
Case 4:22-cv-00062-DN-PK Document 6-1 Filed 08/31/22 PageID.176 Page 57 of 57



                                                                                       Policy # 5.60
                        SOUTHERN UTAH UNIVERSITY                           Date Approved: 03/24/17
                           Policies and Procedures                         Date Amended: 08/07/20
                                                                          Reviewed w/ No Changes:
                                                                   Office of Responsibility: Title IX
                                                                                      Page 32 of 32


    SUBJECT:   SEXUAL MISCONDUCT


         I.    The appeal officer must not be anyone involved in the grievance process before
               the appeal.

         J.    The parties may submit a written statement to the appeal officer supporting or
               opposing the decision of the hearing officer.

               1.     The appeal officer must receive any written statements within 10 calendar
                      days of the Title IX coordinator sending the notice to the parties.

         K.    The appeal officer may review all written statements, reports, evidence, and
               recordings and make a written decision.

         L.    The appeal officer’s written report may affirm or modify the hearing officer’s
               decision, remand the decision to the hearing officer, order a new investigation or
               overturn the decision.

         M.    The appeal officer will simultaneously issue a report to both parties detailing the
               decision and the rationale for the decision.

         N.    The appeal officer’s decision is final.




                                       Exhibit A - 32
